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                           IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    COLUMBUS DIVISION

JANET       DAVIS,       ANGEL        RANDALL,
MELISSA SCHALLER, MANDY PHELAN,
and TREY ROBERTS individually and on
behalf of all others similarly situated,

                               Plaintiffs,             Civil Action No. 2:19-cv-02477-GCS-EPD
                  v.

GEICO CASUALTY COMPANY,                     District Judge George C. Smith
a foreign corporation, GEICO                Magistrate Judge Elizabeth Preston Deavers
ADVANTAGE INSURANCE
COMPANY, a foreign corporation, and
GEICO CHOICE INSURANCE
COMPANY, a foreign corporation, GEICO
GENERAL INSURANCE COMPANY, a
foreign corporation, and GEICO SECURE
INSURANCE          COMPANY,     a   foreign
corporation,

                              Defendants.

               JOINT MOTION TO AMEND PRELIMINARY PRETRIAL ORDER

          Defendants GEICO Casualty Company, GEICO Advantage Insurance Company, GEICO

Choice Insurance Company, GEICO General Insurance Company and GEICO Secure Insurance

Company (“GEICO” or “Defendants”) and Plaintiffs Janet Davis, Angel Randall, Melissa

Schaller, Mandy Phelan, and Trey Roberts (“Plaintiffs”) (collectively, the “Parties”) hereby file

this Joint Motion to Amend the Preliminary Pretrial Order (Dkt. No. 41) and extend all deadlines

included therein by four months. In support thereof, the Parties state as follows:

          1.      On February 6, 2020, this Court entered a Preliminary Pretrial Order (Dkt. No.

41), which adopted the following deadlines for litigating this case1:

                  •    Motion for class certification and certification expert disclosures: August 3,

1
    This list excludes those dates that have already passed as of the date of the filing of this Motion.
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                  2020.

              •   Plaintiffs’ class certification expert depositions: September 3, 2020.

              •   Opposition to class certification and rebuttal expert disclosures: September

                  17, 2020.

              •   Defendants’ class certification expert depositions: October 17, 2020.

              •   Plaintiffs’ class certification reply: October 26, 2020.

              •   All discovery completed: December 15, 2020.

              •   Dispositive motions: November 20, 2020.

              •   Responses to dispositive motions: December 21, 2020.

              •   Replies to dispositive motions: January 18, 2021.

              •   Primary expert reports produced: October 15, 2020.

              •   Rebuttal expert reports produced: November 20, 2020.

              •   Referral to an attorney mediator or the Magistrate judge for a settlement

                  conference: August 2020.

       2.     The Parties request that these deadlines, as established in the Preliminary Pretrial

Order and listed above, be extended by four months, and seek an amended schedule with the

following deadlines:

              •   Motion for class certification and certification expert disclosures: December

                  3, 2020.

              •   Plaintiffs’ class certification expert depositions: January 3, 2021.

              •   Opposition to class certification and rebuttal expert disclosures: January 18,

                  2021.

              •   Defendants’ class certification expert depositions: February 17, 2021.
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              •   Plaintiffs’ class certification reply filed: February 26, 2021.

              •   All discovery completed: April 15, 2021.

              •   Dispositive motions: March 29, 2021.

              •   Responses to dispositive motions: April 21, 2021.

              •   Replies to dispositive motions: May 18, 2021.

              •   Primary expert reports produced: February 15, 2021.

              •   Rebuttal expert reports produced: March 19, 2021.

              •   Referral to an attorney mediator or the Magistrate judge for a settlement

                  conference: December 2020.

       3.     Federal Rule of Civil Procedure 16(b)(4) permits a scheduling order to be

modified “for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). “The primary

measure of Rule 16’s good cause standard is the moving party’s diligence in attempting to meet

the case management order’s requirements.” Inge v. Rock Fin. Corp., 281 F.3d 613, 625 (6th

Cir. 2002) (internal citation and punctuation omitted). “A district court should also consider

possible prejudice to the party opposing the modification.” Andretti v. Borla Performance

Indus., Inc., 426 F.3d 824, 830 (6th Cir. 2005).       Ultimately, it is within a district court’s

discretion whether to modify a scheduling order. Id.

       4.     The Parties have conferred and jointly agree that an extension of all deadlines in

the Preliminary Pretrial Order by four months is reasonable to account for delays caused by the

COVID-19 pandemic. Discovery has been hampered by the pandemic, including GEICO’s

ability to quickly produce the voluminous documents and data requested by Plaintiffs.

Moreover, witness availability has been affected by ongoing stay at home orders and related

remote working arrangements. Good cause therefore exists to amend the schedule set forth in
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the Preliminary Pretrial Order to extend the deadlines by four months.        No party will be

prejudiced by the amendment to the Preliminary Pretrial Order sought herein, and the parties

agree to the relief requested herein.

       5.      Plaintiffs have informed Defendants that they intend to file a motion to amend the

complaint to modify allegations relating to the applicable statute of limitations, and to add a

plaintiff. Defendants oppose such request at this time.

       WHEREFORE, the Parties respectfully request that the Court amend the Preliminary

Pretrial Order and extend all deadlines included therein by four months.

Dated: July 2, 2020

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